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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
v.                                                §           CRIMINAL ACTION H-14-20-003-S
                                                  §
                                                  §
DEAN LESTER SPRINGER, SR.                         §

                                               Order

       Pending before the court are the following motions, all filed by defendant Dean Lester

Springer: (1) a motion to transcribe grand jury minutes (Dkt. 91); (2) a motion for list of witnesses

(Dkt. 92); (3) a motion for notice by the Government of its intent to rely on other crimes, wrongs,

acts, and misconduct evidence (Dkt. 93); (4) a motion for government correspondence with

witnesses (Dkt. 95); (5) a motion for discovery (Dkt. 96); (6) a motion to discover criminal records

of witnesses (Dkt. 97); (7) a motion for production of law enforcement interview reports or notes

with individuals who will not be trial witnesses (Dkt. 98); (8) a motion for early disclosure of

agreements with government witnesses (Dkt. 99); (9) a motion for early disclosure of Jencks Act

materials (Dkt. 100); (10) a motion for disclosure of payments to government witnesses (Dkt. 101);

(11) a motion for preservation and production of rough notes (Dkt. 102); (12) a motion for notice

of evidence under Rule 12(b)(4)(B) (Dkt. 103); and (13) a motion for early disclosure of identity and

whereabouts of informants and cooperating individuals (Dkt. 104). The United States of America

(“USA”) has filed a response to these motions, in which it states that it will comply with the Federal

Rules of Criminal Procedure, binding case law, and the Jencks Act. Dkt. 105.
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        After considering the motions, the Government’s response, and applicable law, the court is

of the opinion that the motions at docket entries 98, 100, and 102 should be DENIED, the motions

at docket entries 92, 95, 96, and 99 should be GRANTED IN PART AND DENIED IN PART as

further explained below, and the motions at docket entries 91, 93, 97, 101, and 103 should be

GRANTED AS UNOPPOSED. The court DEFERS ruling on the motions at docket entry 96,

request thirteen, and docket entry 104 until the Government has provided the requested information

and materials for in camera inspection.

                       I. MOTION TO TRANSCRIBE GRAND JURY MINUTES

        Springer moves for an order requiring that the Government have the minutes and proceedings

of the Grand Jury transcribed so that they will be available at trial should the court rule that they are

producible for Springer’s inspection and use. Dkt. 91. The Government in its response has agreed

to provide defense counsel with a transcript of the Grand Jury testimony, as required by the Jencks

Act. Dkt. 105 at 3–4; 18 U.S.C. § 3500. Springer’s motion is therefore GRANTED AS

UNOPPOSED.

                               II. MOTION FOR LIST OF WITNESSES

        Springer’s moves for an order requiring the Government to provide a list of witnesses that

the Government may call during its case-in-chief or rebuttal prior to trial so that Springer may

properly voir dire the jury panel and intelligently exercise his peremptory challenges. Dkt. 92.

Springer contends that he cannot meaningfully confront and cross-examine witnesses without having

their identities, including names and addresses, disclosed well in advance of trial. Id. The

Government has agreed to provide Springer with a list of all witnesses that will testify in the




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government’s case-in-chief at trial. Dkt. 105 ¶ 6. It does not address the request for a list of rebuttal

witnesses. See id.

        “[T]here is no constitutional right to pretrial discovery of witnesses in non-capital cases.”

United States v. Aguilar, 503 F.3d 431, 434 (5th Cir. 2007) (citing Weatherford v. Bursey, 429 U.S.

545, 559, 97 S. Ct. 837 (1977)). “Rule 16 . . . makes no provision for the production of the names

and addresses of witnesses for the government.” United States v. Fischel, 686 F.2d 1082, 1091 (5th

Cir. 1982). In certain cases, however, due process or the supervisory powers of the court may require

“the divulgence of information in the government’s hands.” Id. For instance, the Government may

be required to provide discovery not otherwise required by the rules if it is exculpatory or if it relates

to confidential informants who have relevant and helpful information. Id. (citing Weatherford, 429

U.S. at 559; Brady v. Maryland, 373 U.S. 83, 83 S. Ct. 1194 (1963); and Roviaro v. United States,

353 U.S. 53, 77 S. Ct. 623 (1957)).

        Here, there is no indication that there is a need for production of a witness list prior to the

time it is required under the Local Rules. However, because the Government has agreed to provide

a list of witnesses, Springer’s motion, to the extent it requests early disclosure of the names of the

witnesses, is GRANTED AS UNOPPOSED. Springer’s motion is otherwise DENIED.

III. MOTION FOR NOTICE BY THE GOVERNMENT OF ITS INTENT TO RELY ON OTHER CRIMES,
                    WRONGS, ACTS, AND MISCONDUCT EVIDENCE

        Springer moves for an order requiring the Government to provide pretrial notice under Rule

404(b) of the Federal Rules of Evidence of its intent to introduce evidence alleging that Springer

committed other crimes, wrongs, acts, and misconduct, and to provide Springer with a list of all such

evidence, including the names of witnesses, dates, summaries of expected testimony, and any related



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documentary evidence. Dkt. 93. The Government states that it does not currently intend to offer

testimony regarding extraneous offenses, but will provide notice to Springer if that intention

changes.    Dkt. 105 at 3.      Springer’s motion for disclosure is therefore GRANTED AS

UNOPPOSED.

            IV. MOTION FOR GOVERNMENT CORRESPONDENCE WITH WITNESSES

       Springer moves for an order requiring the Government to produce correspondence with

witnesses. Dkt. 95. Specifically, Springer asks for (1) correspondence concerning whether a witness

will be or could be charged with a crime; (2) any written correspondence; (3) statements that may

be inconsistent with trial testimony; and (4) any plea agreements, cooperation agreements, or

criminal charges involving any witness. Id. The Government does not specifically address this

motion, but has agreed to inform Springer of any agreements made with witnesses and to disclose

Giglio materials, which would include statements inconsistent with trial testimony. See Dkt. 105.

Springer’s motion is GRANTED AS UNOPPOSED to the extent that he requests materials

discoverable under Brady, Giglio, and their progeny. Springer’s motion is otherwise DENIED.

                                   V. MOTION FOR DISCOVERY

       Springer moves for an order requiring that the Government produce and permit him to

inspect and copy the following items: (1) Springer’s statements to law enforcement agents, whether

written or recorded; (2) Springer’s criminal records; (3) tangible evidence intended for use by the

Government in its case-in-chief, along with a designation as to which materials fall in this category;

(4) books, papers, documents, computer equipment, and other objects in the prosecution’s possession

that were obtained from Springer; (5) the date, time, and location of each occasion when

surveillance, mail cover, search and seizure was made of Springer, together with all documents,


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photos, recordings, and other materials resulting from such occasions; (6) all reports and results of

any physical examinations or scientific tests or experiments conducted by the Government or its

agents; (7) Rule 404(b) evidence; (8) all statements required under the Jencks Act; (9) evidence that

may favor defense or impeaches; (10) prior criminal records of any person that the Government

intends to call as a witness, including the FBI Identification Sheet showing prior arrest and

convictions of the witnesses and the witnesses’ status on parole, probation, or suspended sentence;

(11) impeachment evidence, including offers or promises of grants of immunity, leniency, financial

assistance or other favorable action extended by the Government to any person it plans to call as a

witness; (12) inconsistent statements by any witness the Government plans to call at trial, including

any statement, writing, or record of any kind that contains information inconsistent with the

Government’s theory of the case; (13) evidence that a Government witness suffers or has suffered

from a mental or emotional disturbance or drug/alcohol abuse during the period from the indictment

through trial; (14) all discoverable information from the personnel or employment files of all

informants or agents who may testify; (15) the last known address and phone number of each

prospective Government witness; (16) any evidence that could lower the offense level under the

sentencing guidelines role in the offense, loss amount, or other adjustment; (17) names of expert

witnesses the Government intends to call at trial as well as a summary pursuant to Rule 17(a)(1)(G);

and (18) the names, addresses, telephone numbers, and present locations of any informant or

cooperating individual or any other agent of any governmental agency who supplied information that

led to the arrest of Springer. Dkt. 96. Springer further requests that the Government inform the

court if it intends to delay in production of Giglio and Brady materials until trial or shortly before,

as these requests are for production of responsive items as soon as the information becomes


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available. Id. Springer also asks for a paragraph-by-paragraph response to his request for

production. Id. With regard to the request for a paragraph-by-paragraph response, the Government

is not required to point the defendant to specific documents within its overall production. United

States v. Mulderig, 120 F.3d 534, 541 (5th Cir. 1997). Accordingly, the request for an itemized

response to the discovery requests is DENIED. The court will consider the remainder of the requests

seriatim.

A.     Request One

       The Government states that it will make available any written or recorded statements of

Springer that are in its possession, custody, or control, pursuant to Rule 16. Dkt. 105. It declines,

however, to provide the requested contact information of witnesses with personal knowledge of

Springer’s statement, as Rule 16 does not require this disclosure. Id. It also declines to provide the

statements of Springer’s co-conspirators, noting that neither the Rules nor the Jencks Act require this

disclosure. Id. All that Springer has cited with regard to his request for these statements and for

addresses of persons who witnessed or have knowledge of his statements is Rule 16(a)(1)(A). This

rule does not require the disclosure Springer seeks. Accordingly, Springer’s motion for statements

is GRANTED AS UNOPPOSED to the extent that it requests materials the Government is required

to produce under Rule 16(a)(1)(A). It is otherwise DENIED.

B.     Requests Two through Four

       Springer’s requests for (a) his criminal records (request 2), (b) tangible evidence the

Government will use in its case-in-chief (request 3), and (c) items obtained from Springer (request

4), are GRANTED AS UNOPPOSED. See Dkt. 105 ¶ 1 (stating that the Government will provide

these materials).


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C.     Request Five

       Springer requests the date, time, and location of searches and surveillance made of him in

this case, together with all documents, photos, recordings, and other materials resulting from these

searches and surveillance. He further requests (a) all recorded statements from him, along with

copies of orders, applications, and other related papers for wiretaps or other means of permitting

interception or communication; and (b) copies of all search warrants and affidavits or the “returned

evidence” the Government intends to offer in this case. The Government has agreed to make

available any relevant written or recorded statements of Springer, or copies thereof, within the

Government’s possession, custody, or control. See Dkt. 105. It has further agreed to make available

photographs, books, papers, documents, tangible objects, buildings, and places for inspection and

copying, which documents and tangible objects are in the possession, custody, or control of the

Government, and which are material to the preparation of the defense or may be used by the

Government in its case-in-chief at trial, or were obtained from Springer. See id. Springer did not

meet the burden of showing need for all “related papers” for wire taps. See, e.g., United States v.

Carter, No. 10-0230, 2011 WL 2560239 (W.D. La. June 24, 2011) (denying motion to disclose

interim reports during the course of wire taps authorized by the court). Springer’s request is

GRANTED AS UNOPPOSED to the extent he requests materials the Government has already

agreed to disclose. Springer’s request is otherwise DENIED.

D.     Requests Six and Seven

       Springer’s requests for (a) reports and results of physical examinations and scientific tests

(request 6), and (b) Rule 404(b) evidence (request 7), are GRANTED AS UNOPPOSED. See Dkt.

105 ¶¶ 1, 5 (indicating that the Government will provide these materials).


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E.     Request Eight

       Springer’s request for Jencks Act materials is GRANTED IN PART AND DENIED IN

PART. Because the Government has agreed to disclose any materials pursuant to Rules 16 and 26.2,

the Jencks Act, Brady, and Giglio, Springer’s request is GRANTED to the extent it requests

materials required under those authorities. It is DENIED to the extent he requests rough notes for

the reasons outlined below relating to his motion that specifically addressed the notes.

F.     Requests Nine through Eleven

       Springer’s request for Brady and Giglio materials (request 9) is GRANTED AS

UNOPPOSED. See Dkt. 105 ¶ 1, 2. Springer’s request for prior criminal records of Government

witnesses (request 10) is GRANTED AS UNOPPOSED to the extent he requests criminal records

required under Giglio. See Dkt. 105 ¶ 1. Springer’s request for impeachment evidence, Giglio

materials, and evidence of promises of benefit to witnesses (request 11) is GRANTED AS

UNOPPOSED to the extent he requests materials covered by Brady, Giglio, and their progeny. See

Dkt. 105 ¶ 1–3 (the Government asserts that it has made no promises of benefit to any witnesses, but

will inform Springer if that changes).

G.     Request Twelve

       The Government does not address Springer’s motion for disclosure of inconsistent statements

of witnesses who will testify at trial. See Dkt. 105. However, these statements should be disclosed

under Giglio; the motion is therefore GRANTED.

H.     Request Thirteen

       The Government also does not address the request for information about any mental

problems or drug abuse by Government witnesses. See Dkt. 105. If the Government has such


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information that it does not believe it is required to disclose, the court ORDERS that the Government

provide it to the court for in camera inspection.

I.     Request Fourteen

       The Government also does not specifically address Springer’s request for any Brady or Giglio

materials in the personnel or employment folders of informants or agents who may testify, though

it acknowledges that it must produce Brady and Giglio materials (Dkt. 105 ¶ 1–2). Since Springer

merely requests discoverable materials under Brady or Giglio, or an affidavit stating no such

materials exist, the request is GRANTED.

J.     Request Fifteen

       Springer’s request for the names of each prospective Government witnesses, to the extent it

requests early disclosure, is GRANTED AS UNOPPOSED, but his request for the addresses of each

prospective Government witnesses is DENIED, for the reasons stated above in regard to Springer’s

separate motion for a list of witnesses.

K.     Request Sixteen

       Springer’s request for evidence that could lower his sentence or offense level, which the

Government does not specifically address, is GRANTED.

L.     Request Seventeen

       Springer’s request for the names of expert witnesses that the Government intends to call at

trial as well as a written summary is GRANTED AS UNOPPOSED. See Dkt. 105 ¶ 1.

M.     Request Eighteen

       Springer requests disclosure of the names, addresses, phone numbers, and present locations

of any informant, cooperating individual, or agent who supplied information or performed any role


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whatsoever that resulted in the arrest of Springer. Dkt. 96. Springer requests the same information

with regard to any individuals who were involved in any way with getting the informants or

cooperating individuals in touch with the Government. Id. Springer also requests information about

any details, events, and dates thereof leading up to the use, employment, cooperation, and the like

of any informants, cooperating individuals, or agents that would reflect upon the person’s motivation

for and actions taken while assisting the United States or any other governmental agency. Id.

        The Government does not seem to address whether it has used any confidential informants,

cooperators, or agents. Dkt. 105. However, the Government has agreed to provide a list of all

witnesses that will testify in its case-in-chief at trial. Id. at ¶ 6. The Government states that it has

made no promises of benefit to any witness in this case, but will inform Springer should that change.

Id. at ¶ 3. It further states that it will comply with its obligations for discovery under Brady, Giglio,

Rule 16, and other authorities. Id. at ¶ 6.

        To the extent the motion requests disclosure of information the Government has agreed to

provide pursuant to Giglio, Brady, and Rule 16, the motion is GRANTED AS UNOPPOSED. To

the extent the motion requests additional information not required by Giglio, Brady, and Rule 16,

the motion is DENIED, as Springer has provided no authority indicating that he is entitled to

additional information.

             VI. MOTION FOR DISCOVERY OF CRIMINAL RECORDS OF WITNESSES

        Springer’s request for prior criminal records of Government witnesses (Dkt. 97) is

GRANTED AS UNOPPOSED to the extent he requests criminal records required under Giglio. See

Dkt. 105 ¶ 1 (stating that the Government will make available copies of prior criminal records of




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government witnesses, if any, that are in its possession, custody, or control, or that by due diligence

become known to its attorneys).

  VII. MOTION FOR PRODUCTION OF LAW ENFORCEMENT INTERVIEW REPORTS OR NOTES
               WITH INDIVIDUALS WHO WILL NOT BE TRIAL WITNESSES


       Springer requests that the court require the Government to produce all investigative reports

or notes by law enforcement agencies that contain memoranda or interviews conducted by employees

of those agencies with individuals who will not be called as witnesses at trial but who were

interviewed during the investigation. Dkt. 98. Springer makes this request pursuant to Brady’s

requirement that the Government produce exculpatory evidence. Id. Springer asserts that only

Springer can determine what is exculpatory or favorable within his own theory of the case. Id.

       Brady and its progeny do not require open access to all government records just in case there

may be something relevant to the defendant’s case. While it is true that there could in some

circumstances be materials that the Government does not realize are exculpatory until it is more

aware of the defendant’s theory of his or her case, the Government here has noted that it is aware of

its continuing duty to disclose required evidence. Dkt. 105. The court finds that so long as the

Government complies with its obligations under Brady and its progeny and discloses materials as

soon as it becomes aware that they may be exculpatory, then Springer’s rights are protected.

Springer’s motion for production of all investigative reports or notes is therefore DENIED.

 VIII. MOTION FOR EARLY DISCLOSURE OF AGREEMENTS WITH GOVERNMENT WITNESSES

       Springer requests that the court order the Government to disclose the terms and conditions

of any agreements between the Government and any witness it plans to call at trial, thirty days before

trial. Dkt. 99. Springer cites Giglio as a basis for his request. See id. As noted above, the



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Government asserts that it has made no promises of benefit to any witness in this case, and that it

will comply with requirements under Giglio as well as inform Springer of any changes. See Dkt. 105

¶¶ 1–3. Springer’s motion for disclosure of agreements with government witnesses is GRANTED

AS UNOPPOSED to the extent he requests disclosure of materials required under Giglio. Since

Springer has not identified a need for these materials thirty days before trial and nothing in the rules

requires this early disclosure, his motion is otherwise DENIED.

              IX. MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIALS

        Springer requests that the court order the Government to disclose all statements and reports

within the meaning of the Jencks Act, 18 U.S.C. § 3500, thirty days before trial. Dkt. 100. Springer

does not provide any reason for the request or cite any case law. See id. As noted above, the Jencks

Act requires the Government to provide relevant witness statements or reports after the witness has

testified at trial. 18 U.S.C. § 3500. Since Springer has not identified a need for these materials thirty

days before trial and nothing in the rules requires this early disclosure, his motion is DENIED.

          X. MOTION FOR DISCLOSURE OF PAYMENTS TO GOVERNMENT WITNESSES

        Springer’s motion for disclosure of payments made or promised by the Government to

witnesses and informants (Dkt. 101) is GRANTED AS UNOPPOSED. See Dkt. 105 ¶¶ 2–3.

             XI. MOTION FOR PRESERVATION AND PRODUCTION OF ROUGH NOTES

        Springer moves for the court to order the Government to preserve and produce all

handwritten notes of all cooperating witnesses and law enforcement officers and agents as well as

any statements attributed to Springer. Dkt. 102. He asserts that the notes of the agents and

cooperating witnesses that have been used in the preparation of the final reports of the witnesses are

subject to required disclosure, along with other Jencks Act materials. Id. He cites 18 U.S.C. § 3500,


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Rules 16 and 26.2, and Brady in support of this request. See id. The Fifth Circuit does not require

rough or original notes to be retained or made available for discovery purposes. United States v.

Jiminez, 484 F.2d 91 (5th Cir. 1973); United States v. Arriaga-Martinez, No. 2:13–CR–00235 (1),

2013 WL 2617025, at *1–2 (W.D. Tex. June 10, 2013). The Government asserts, however, that it

will review reports and notes written by officers involved in investigating this case and will notify

Springer of any exculpatory or mitigating evidence. See Dkt. 105 ¶ 1.

       Under Fifth Circuit law, even if the rough notes of an agent contain occasional verbatim

recitations of phrases used by the person being interviewed, they are not necessarily a “statement”

for Jencks Act purposes. United States v. Cole, 634 F.2d 866, 867 (5th Cir. 1981). Additionally,

the Fifth Circuit has held that the Jencks Act does not require “that notes made in the course of an

investigation be preserved after the notes have served their purpose of assisting in the preparation

of interview reports.” Id. at 868 (quoting United States v. Pacheco, 489 F.2d 554, 556 (5th Cir.

1974)). Thus, if notes are “destroyed by an agent in good faith” there is no violation of the Jencks

Act. Id.

       Since the Fifth Circuit does not impose the requirement to preserve notes that Springer

requests, and the Government has otherwise agreed to disclose any materials pursuant to Rules 16

and 26.2, the Jencks Act, Brady, and Giglio, Springer’s motion is DENIED.

              XII. MOTION FOR NOTICE OF EVIDENCE UNDER RULE 12(B)(4)(B)

       Springer moves for the court to order the Government to give notice of the its intent to use

in its case-in-chief at trial any evidence Springer may be entitled to discover under Rule 16. Dkt.

103. The Government has agreed to comply with the Federal Rules of Criminal Procedure. Dkt. 105

¶ 1. Accordingly, Springer’s motion for Rule 12(b)(4)(B) notice is GRANTED AS UNOPPOSED.


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 XIII. MOTION FOR EARLY DISCLOSURE OF IDENTITY AND WHEREABOUTS OF INFORMANTS
                         AND COOPERATING INDIVIDUALS


        Springer moves for the court to order the Government to disclose the identity and

whereabouts of all informants or cooperating individuals who were participants in the transactions

alleged in this case thirty days before trial. Dkt. 104. The Government states that it will provide

Springer with a list of all witnesses that will testify in its case-in-chief at trial, and that it will comply

with obligations under Rule 16, Brady, Giglio, and other authorities. Dkt. 105 ¶ 6. The Government

does not address whether it has used any informants. Dkt. 105. Whether the Government must

reveal an informant’s identity involves “balancing the public interest in protecting the flow of

information against the individual’s right to prepare his defense.” United States v. Fischel, 686 F.2d

1082, 1091 (5th Cir. 1982) (citing Roviaro v. United States, 353 U.S. 53, 77 S. Ct. 623 (1957)). If

the Government has such information that it does not believe it is required to disclose, the court

ORDERS that the Government provide it to the court for in camera inspection.




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                                      XIV. CONCLUSION

       The motions at docket entries 98, 100, and 102 are DENIED, the motions at docket entries

92, 95, 96, and 99 are GRANTED IN PART AND DENIED IN PART as explained above, and the

motions at docket entries 91, 93, 97, 101, and 103 are GRANTED AS UNOPPOSED. The court

defers ruling on the motions at docket entry 96, request thirteen, and docket entry 104 until the

Government has provided the requested information and materials for in camera inspection.

       Signed at Houston, Texas on March 25, 2015.




                                                          Gray H. Miller
                                                    United States District Judge




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